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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DANIEL RODRIGUEZ,                               )
                                                )       Case No. 22 C 6141
                 Plaintiff,                     )
                                                )       Hon. Edmond E. Chang
          v.                                    )       District Judge
                                                )
REYNALDO GUEVARA, et al.,                       )       Hon. Beth W. Jantz
                                                )       Magistrate Judge
                 Defendants.                    )

                                      JOINT STATUS REPORT

          Pursuant to this Court’s order, ECF No. 154, the undersigned parties provide the below

update on the status of non-Monell discovery:

          1.     Outstanding written discovery:

          Per the Court’s order the parties met and conferred regarding outstanding written discovery

issues.

                 a) On the issue of ESI discovery, the City proposed similar search parameters as

                     the parties agreed to in the Solache v. Guevara et al. and the Reyes v. Guevara

                     et al. cases. Plaintiff is evaluating that proposal but asserts that the issues of

                     ESI discovery in this case are broader than the search for information specific

                     to the plaintiffs’ certificates of innocence in Solache and Reyes. Defendant City

                     disputes this because, in both cases, the request concerned communications

                     regarding Plaintiff’s certificate of innocence, so the search parameters should

                     be the same. The City also explained in the meet and confer that if Plaintiff

                     provides a limited set of custodians, the City is willing to negotiate further on

                     search terms.
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         b) As to juvenile records for Jason Rivera, Plaintiff’s position is that he has

             requested that Defendants produce all juvenile information in their possession,

             custody, and control, pursuant to the Court’s protective order governing that

             information. At least two of the most significant witnesses in this case were

             juveniles at the time of the events in question, and Plaintiff has not received

             juvenile information from the Defendants on these witnesses. Defendants have

             not told Plaintiff whether they have responsive information in their possession,

             custody, or control; whether they have searched for that information; or whether

             they need a Court order to turn it over. Plaintiff’s position is that Defendants

             should be ordered to produce that information in their production. Should this

             Court decide an order for good cause is necessary, as Defendant City argues

             below, Plaintiff will file a motion early next week.

             Defendant City’s position, as explained at the last hearing, is that juvenile law

             enforcement records are protected from disclosure by the Juvenile Court Act

             absent a court order upon a finding of good cause. The City’s counsel explained

             at the meet and confer that the City does not object to Plaintiff obtaining

             juvenile records but that he needs to obtain a court order permitting their

             disclosure after establishing good cause. It was the City’s understanding after

             the meet and confer that Plaintiff was planning on filing such a motion. Plaintiff

             has not stated what the relevance is to any juvenile law enforcement records for

             Jason Rivera. Based on this request, Defendants are also evaluating obtaining

             Plaintiff’s juvenile law enforcement and court records.
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                 c) The parties have discussed the production of documents pertaining an

                     investigation conducted by Sidley & Austin. The City produced non-privileged

                     documents and a corresponding privilege log to Plaintiff’s counsel in other

                     ligation several years ago. The City asked Plaintiff whether he wanted the City

                     to produce those materials again in this case. Plaintiff’s counsel informed the

                     City today that he is requesting the City reproduce in this case the privilege log

                     that his counsel already has. And the City has agreed to do so, despite the fact

                     that Plaintiff is not requesting the City reproduce the underlying public

                     documents.

                 d) Pursuant to the parties’ discussions, Defendant Officers are evaluating

                     supplementing their responses to Plaintiff’s Second Request for Production and

                     Third Set of Interrogatories and anticipate doing so within fourteen days.

        2.       Depositions:

                 a) 13 depositions have already occurred in this case.1

                 b) Pursuant to the Court’s order regarding Jason Rivera, Dkt. 161, Plaintiff’s

                     investigator traveled to his house to serve him in person today, left a copy of

                     the subpoena with an adult at his residence, and was told by those residing there

                     that Mr. Rivera has moved to Puerto Rico. Shortly after, Mr. Rivera called

                     Plaintiff’s counsel stating that he will be returning to Chicago at the end of June

                     and will sit for a deposition at the place and time that the parties designate.




1
 The parties have already taken the depositions of Reynaldo Guevara, Robert Biebel, Edward Mingey, Edward
Strandberg, Lee Epplen, Patrick Walsh, Steve Gawrys, Michael Fleming, John Jambrosek, Daniel Rodriguez, Gloria
Rodriguez, Surma Rojas, and David Velazquez.
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         c) Plaintiff is working on providing dates for the deposition of George Laureno.

             Due to the fact that counsel for the Defendant Officers (other than Guevara) are

             on trial at the end of June, Laureno’s deposition will be scheduled during the

             month of July.

         d) Plaintiff recently produced an affidavit for Timothy Bennett. Given the

             substance of that affidavit, Defendants are evaluating whether they will take his

             deposition.

         e) Plaintiff is seeking to take the depositions of witnesses at the crime scene and

             individuals involved in Mr. Laureano’s defense, including Delbert McCullem,

             Clifford Carter, Raymond Garciano, Ulysses Arroyo, Lisa Brean, and Diane

             Doyle. Plaintiff is still attempting to locate several of these witnesses. However,

             as noted in Court during the May 17 hearing, for the purpose of judicial

             economy, Plaintiff is amenable to pursuing declarations from some of these

             individuals instead when they have little to no memory of the case. Defendants

             are not currently seeking the depositions of these individuals, however, if

             Plaintiff obtains declarations from any of them, then Defendants will likely

             have to take their deposition to explore their testimony.

         f) Considering Laureno and Rivera are significant witnesses in the case, along

             with some of the scene witnesses, the parties may seek follow-up written or

             document discovery, after the parties have an opportunity to depose them, but

             the parties are not able to determine what, if any, discovery is needed until after

             those depositions are completed.
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         g) The parties still need to take the deposition of ASA Matt Coghlan and Plaintiff

             is seeking the deposition of ASA Kevin Noonan.

                 i. ASA Coghlan’s deposition was originally scheduled to proceed in

                    March before the parties rescheduled the deposition for April 23, 2024.

                    Six days before the deposition was set to proceed, counsel for Defendant

                    Officers issued a letter to the Cook County State’s Attorney’s Office

                    (“CCSAO”) requesting review of certain redactions for documents the

                    office produced subject to a subpoena in this case. The day before the

                    deposition was scheduled to take place, counsel for the Defendant

                    Officers notified Plaintiff that the deposition would not be proceeding

                    due to the redactions issue. Mr. David Adelman from CCSAO issued a

                    response on May 7, 2024 specifying which of Defendant Officers’

                    identified Bates ranges are not, in fact, notes from ASA Coghlan. In that

                    letter, Mr. Adelman informed counsel for Defendant Officers that

                    before he could consider the remaining documents listed in the request

                    to release, he would need to receive a request directly from an attorney

                    representing Mr. Coghlan. As of May 7, 2024, there has been no other

                    movement on this request. Plaintiff’s position is that this deposition may

                    proceed and that the documents are not necessary to take the deposition

                    of ASA Coghlan (who is a third party in this case). Plaintiff also

                    requested that Defendants produce their communications with ASA

                    Coghlan pursuant to Plaintiff’s discovery requests, but only Defendant
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                          Walsh has responded to that request at this time. Defendant Officers will

                          respond to this request within one week.

                       ii. For ASA Noonan, his deposition was originally scheduled for March

                          22. However, due to scheduling conflicts, that deposition did not go

                          forward. Counsel for the Defendant Officers told Plaintiff on April 17,

                          2024 that he would confirm dates with Mr. Noonan’s counsel and would

                          let Plaintiff know when that deposition could be rescheduled. Plaintiff

                          followed up requesting dates. Following our May 17, 2024 hearing in

                          this case, Plaintiff’s counsel reached out to counsel for the County, Mr.

                          Joe Hodal, to inquire about the representation of ASA Noonan and

                          Coghlan. Mr. Hodal apprised Plaintiff that ASA Noonan was

                          represented by Mr. Bill Oberts. Plaintiff then contacted Mr. Oberts and

                          is awaiting dates to proceed with Mr. Noonan’s deposition. Of note,

                          ASA Noonan was not included in the Defendant Officers’

                          correspondence with CCSAO regarding document redactions, and no

                          party has made any objection to Mr. Noonan’s deposition proceeding.

                          Mr. Hodal was not aware of any appointed counsel for Mr. Coghlan.

                          Defendants are not currently seeking the deposition of ASA Noonan.

Dated: June 13, 2024


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One of the Attorneys for City of Chicago            One of the Attorneys for Defendant Officers

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